                                                                   Case 9:23-bk-10690-RC        Doc 22 Filed 08/18/23 Entered 08/18/23 08:09:47      Desc
                                                                                                 Main Document    Page 1 of 3


                                                                    1   Anthony P. Cali (Pro Hac Vice Pending)
                                                                        anthony.cali@stinson.com
                                                                    2   STINSON LLP
                                                                        1850 N. Central Avenue, Suite 2100
                                                                    3   Phoenix, AZ 85004-4584
                                                                        Telephone: 602.279.1600
                                                                    4
                                                                        Marshall J. Hogan, Bar No. 286147
                                                                    5   mhogan@swlaw.com
                                                                        SNELL & WILMER L.L.P.
                                                                    6   600 Anton Blvd, Suite 1400
                                                                        Costa Mesa, California 92626-7689
                                                                    7   Telephone:    714.427.7000
                                                                        Facsimile:    714.427.7799
                                                                    8
                                                                        Attorneys for Twain GL XXV, LLC
                                                                    9

                                                                   10                             UNITED STATES BANKRUPTCY COURT
                                                                   11                    CENTRAL DISTRICT OF CALIFORNIA – NORTHERN DIVISION
SNELL & WILMER
                               COSTA MESA, CALIFORNIA 92626-7689
                                  600 ANTON BLVD, SUITE 1400




                                                                   12
                                                                        In re:
                      LAW OFFICES




                                                                   13
             L.L.P.




                                                                                                                        Case No. 9:23-bk-10690-RC
                                                                   14   SA HOSPITAL ACQUISITION GROUP, LLC
                                                                                                                        Chapter 11
                                                                   15                                                   SUPPLEMENTAL PROOF OF
                                                                                            Debtor.
                                                                                                                        SERVICE RE: (I) TWAIN GL XXV,
                                                                   16                                                   LLC’S MOTION TO DISMISS
                                                                                                                        CHAPTER 11 CASE AND
                                                                   17                                                   DECLARATION OF DANIEL
                                                                                                                        WIGGINS [DKT. NO. 5 & 5-1], (II)
                                                                   18                                                   APPLICATION FOR ORDER
                                                                                                                        SETTING HEARING ON
                                                                   19                                                   SHORTENED NOTICE [DKT. NO. 6],
                                                                                                                        (III) NOTICE OF ERRATA RE
                                                                   20                                                   APPLICATION FOR ORDER
                                                                                                                        SETTING HEARING ON
                                                                   21                                                   SHORTENED NOTICE [DKT. NO. 7];
                                                                                                                        AND (IV) NOTICE OF HEARING
                                                                   22                                                   [DKT. NO. 11]
                                                                   23                                                   Date:    August 18, 2023
                                                                                                                        Time:    11:00 a.m.
                                                                   24                                                   Place:   411 West Fourth Street
                                                                                                                                 Santa Ana, CA 92701
                                                                   25                                                            Courtroom 5D
                                                                   26

                                                                   27

                                                                   28

                                                                        4893-5068-2744
         Case 9:23-bk-10690-RC                     Doc 22 Filed 08/18/23 Entered 08/18/23 08:09:47                                     Desc
                                                    Main Document    Page 2 of 3



                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
600 Anton Blvd., Suite 1400, Costa Mesa, CA 92626

A true and correct copy of the foregoing document entitled (specify): (i) Twain GL XXV, LLC’s Motion to Dismiss
Chapter 11 Case and Declaration of Daniel Wiggins, (ii) Application for Order Setting Hearing on Shortened
Notice, (iii) Notice of Errata re Application for Order Setting Hearing on Shortened Notice, and (iv) Notice of
Hearing on Twain GL XXV, LLC’s Motion to Dismiss Chapter 11 Case will be served or was served (a) on the judge
in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
August 16, 2023, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

        Michael Jay Berger michael.berger@bankruptcypower.com,
         yathida.nipha@bankruptcypower.com;michael.berger@ecf.inforuptcy.com
        Brian David Fittipaldi brian.fittipaldi@usdoj.gov
        United States Trustee (ND) ustpregion16.nd.ecf@usdoj.gov

                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) xxxx, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) August 16, 2023 I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.


VIA FEDEX

Honorable Ronald A. Clifford III
United States Bankruptcy Court
Central District of California
1415 State Street, Suite 233 / Courtroom 201
Santa Barbara, California 93101-2511



//
/




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
        Case 9:23-bk-10690-RC                      Doc 22 Filed 08/18/23 Entered 08/18/23 08:09:47                                     Desc
                                                    Main Document    Page 3 of 3




VIA OVERNIGHT PRIORITY MAIL

Missouri State Taxes
PO Box 999
Jefferson City, MO 65108-0999

TVT 2.0 LLC
8 Hunters Ln.
Roslyn, NY 11576



                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 8/18/23              Kelley Nestuk                                                             /s/Kelley Nestuk
 Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
